             Case 1:21-cv-00260-PB Document 99 Filed 12/22/22 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

-------------------------------------- X
SECURITIES AND EXCHANGE                :
COMMISSION,
                                       :
                Plaintiff,
                                         Civil Action No. 1:21-cv-00260-PB
                                       :
      -against-
                                         EXPEDITED CONSIDERATION
                                       : REQUESTED
LBRY, INC.,
                                                   :
                    Defendant.
-------------------------------------- X

                           LBRY, INC.’S MOTION
        FOR EXPEDITED CONSIDERATION OF, AND ORAL ARGUMENT FOR,
        ITS MOTION TO LIMIT THE COMMISSION’S REMEDIES (Doc. No. 89)

        Defendant LBRY, Inc. (“LBRY”) files and respectfully requests expedited consideration

of this Motion for Expedited Consideration of, and Oral Argument for, its Motion to Limit the

Commission’s Remedies (Doc. No. 89). In support hereof, LBRY states as follows.

        1.       On November 7, 2022, the Court granted summary judgment in favor of plaintiff

Securities and Exchange Commission (“Commission”). Doc. No. 86.

        2.       On November 21, 2022, the Court held a status conference during which LBRY

informed the Court inter alia of its precarious financial condition, particularly relative to the

potential of a prolonged continuation of these proceedings.

        3.       On November 30, 2022, LBRY filed an Assented-To Motion for Expedited

Briefing Schedule concerning the remedies sought by the Commission in these proceedings.

Doc. No. 88 (“Given LBRY’s financial condition, LBRY respectfully requests that the Court

order an expedited briefing schedule concerning the remedies sought by the Commission in this

litigation.”).



                                                 -1-
            Case 1:21-cv-00260-PB Document 99 Filed 12/22/22 Page 2 of 4




       4.      On December 1, 2022, the Court granted an expedited briefing schedule

concerning the remedies sought by the Commission in these proceedings.

       5.      On December 7, 2022, LBRY filed its Motion to Limit the Commission’s

Remedies (Doc. No. 89), which included an declaration from LBRY that further detailed its

difficult financial situation relative to any prolongation of these proceedings.

       6.      On December 11, 2022, the Commission filed a Motion to Extend Time to

Respond to LBRY’s Motion. Doc. No. 90.

       7.      On December 14, 2022, the Court granted the Commission’s Motion to Extend

Time to Respond.

       8.      On December 19, 2022, the Commission filed its Opposition to LBRY’s Motion

to Limit the Commission’s Remedies. Doc. No. 94. Two Amicus Curiae also filed briefs in

support of LBRY’s Motion to Limit the Commission’s Remedies. Doc. No. 95 (Brief for

Amicus Curiae Naomi Brockwell) and Doc. No. 96 (Brief for Amicus Curiae Investor Choice

Advocates Network).

               Good Cause For Expedited Consideration of the Present Motion

       9.      Local Rule 7.1 (f) provides that “[f]or good cause shown in the motion, a party

may request expedited consideration of a motion.”

       10.     LBRY believes that good cause exists for expedited consideration of the present

Motion as it will advance the purpose of the parties’ assented-to expedited briefing schedule that

the Court ordered, particularly in light of LBRY’s ongoing precarious financial condition.




                                                 -2-
            Case 1:21-cv-00260-PB Document 99 Filed 12/22/22 Page 3 of 4




             Request For Expedited Consideration of, and Oral Argument for,
             LBRY’s Motion to Limit the Commission’s Remedies (Doc. No. 89)

       11.     In addition to previously requesting and being afforded an expedited briefing

schedule, LBRY now also expressly requests expedited consideration of its Motion to Limit the

Commission’s Remedies (Doc. No. 89).

       12.     LBRY believes that good cause for expedited consideration of LBRY’s Motion to

Limit the Commission’s Remedies (Doc. No. 89) exists as it will advance the purpose of the

expedited briefing schedule - i.e., LBRY’s precarious financial condition - and afford an

opportunity for resolution of the substance of the parties’ briefing consistent with that expedited

schedule.

       13.     Local Rule 7.1(d) provides that “[t]he court may allow oral argument after

consideration of a written statement by a party outlining the reasons why oral argument may

provide assistance to the court.”

       14.     With regard to LBRY’s Motion to Limit the Commission’s Remedies (Doc. No.

89), the Commission’s opposition thereto and the Amicus Curiae briefs, LBRY believes that oral

argument will provide assistance to the Court because of (i) the unique issues involving

government remedies, (ii) the scope of such remedies, (iii) how such remedies should impact

secondary holders of the LBRY token, LBC, and (iv) the lack of clarity provided to the digital

asset industry by the Commission.

       15.     Due to the nature of this motion, there is no accompanying memorandum of law.

       WHEREFORE, LBRY respectfully requests that the Court:

       A.      Consider and grant the present Motion on an expedited basis;

       B.      Schedule oral argument and consider LBRY’s Motion to Limit the Commission’s

Remedies (Doc. No. 89) on an expedited basis;


                                                -3-
            Case 1:21-cv-00260-PB Document 99 Filed 12/22/22 Page 4 of 4




       C.      Grant such further relief as is necessary and just.

December 23, 2022                                 Respectfully submitted,

                                                  LBRY, INC.

                                                  /s/ Timothy J. McLaughlin (NH Bar # 19570)
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                                      Certificate of Service

       I certify a copy of the foregoing filing is being served upon counsel of record for the

parties via the Court’s CM/ECF system.

                                                      /s/ Keith W. Miller
                                                      Keith W. Miller


                       Certificate of Compliance with Local Rule 7.1(c)

       I certify a good faith attempt has been made to obtain concurrence in the relief sought.

                                                      /s/ Keith W. Miller
                                                      Keith W. Miller



                                                -4-
